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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

ALTON CRAIN,
Plaintiff,

v. SA-16-CA-408-XR (HJB)
CITY OF SELMA, THOMAS DALY,
JAMES PARMA, KENNETH ROBERTS,
JOHNNY CASIAS, KEVIN HADAS,
PHILLIP SWINNEY, HARRY GREENE,
KENNETH HARRIS, LARRY VERNER,
ROBERT KLAENER, MARC SCHNALL,
and CHARLES FRIGERIO,

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Defendants.

REPORT AND RECOMMENDATION
OF UNITED STATES MAGISTRATE JUDGE

To the Honorable U.S. District Judge Xavier Rodriguez:

This Report and Recommendation concerns Defendant Charles S. Frigerio’s Motion to
Dismiss (Docket Entry 6). Dispositive motions in this case have been referred to the
undersigned for recommendation. (See Docket Entry 5.) For the reasons set out below, I
recommend that Attorney Charles S. Frigerio’s Motion to Dismiss (Docket Entry 6) be
GRANTED and that Plaintiffs claims against Defendant Charles Frigerio be DISMISSED.

I. Jurisdiction.

Plaintiffs suit alleges violations of the Fair Housing Act of 1968 (“FHA”), 42 U.S.C.
§ 3601, et seg. and related state law claims. This Court has jurisdiction over the federal claims
pursuant to 28 U.S.C. § 1331, and over the state claims pursuant to 28 U.S.C. § 1367. I have

authority to issue this recommendation pursuant to 28 U.S.C. § 636(b)(1)(B).
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IE. Background.

Plaintiff Alton Crain brings this pro se suit against Defendants City of Selma, various
City of Selma employees, and two lawyers who represent the City of Selma. (Docket Entry 1.)
Plaintiff's suit arises out of an excess property auction that the City held. Ud.) The auction was
open to the general public and Plaintiff was one of six people that submitted bids. (/d.)
Plaintiff's suit alleges that “bidders were not treated equally according [to] the Fair Housing Act
policy and procedures.” (/d.) Plaintiff alleges that African-American bidders were treated
unfavorably, compared to Caucasian and Hispanic bidders. (/d.)

Plaintiff claims that on December 19, 2014, at 4:35 p.m., he witnessed bid tampering
occur at Selma City Hall. (Docket Entry 1, at 6.) On December 22, 2014, Plaintiff sent City
officials “a notice to preserve all related evidence to litigation,” explaining that he believed bid
tampering occurred during the property auction. (/d.) Plaintiff requested video evidence from
cameras located at City Hall for the date and time in question; however, he claims that the city
neglected to preserve the requested video evidence. According to Plaintiff, city officials
“mtentionally concealed and conspired to alter evidence prior to surrendering the video of the
Selma City Hall Lobby bid tampering incident.” (/d. at 12.) Plaintiff claims that, had the video
been preserved, it would show city officials encouraging Caucasian and Hispanic bidders to
resubmit invalid bids, while neglecting to offer the same encouragement to African-American
bidders. (Jd. at 8.)

Prior to filing this suit, Plaintiff filed a charge of discrimination with the Department of
Housing and Urban Development (“HUD”). (Docket Entry 1, at 7.) HUD forwarded Plaintiff's
complaint to the Texas Workforce Commission Civil Rights Division (“TWC”). (/d.) The TWC

determined “that there is no reasonable cause to believe that [the City] discriminated against
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[Plaintiff] on the basis of race.” (Docket Entry 6-1, at 8.) Defendant Frigerio represented the
City of Selma before the TWC. (Docket Entry 6, at 1.)

On May 3, 2016, Plaintiff filed the instant suit. (Docket Entry 1.) Plaintiff asserts
numerous claims, including: FHA violations under federal and state law; Texas Penal Code
violations; and violations of federal criminal statutes. (/d. at 3.) Plaintiff is seeking a declaratory
judgment, permanent injunctive relief, compensatory damages, punitive damages, criminal
charges, and spoliation sanctions. (/d.)

Frigerio claims that his “only involvement in this case was the representation of his
client” before the TWC. (Docket Entry 6, at 2.) Frigerio seeks to dismiss the claims against him
pursuant to Federal Rule of Civil Procedure 12(b)(6). (d.)

Ii. Legal Standards.

Rule 12(b)(6) authorizes the dismissal of a cause of action in a complaint when it fails “to
state a claim upon which relief can be granted.” FED. R. Crv. P. 12(b)(6). When considering a
motion to dismiss for failure to state a claim, the “court accepts ‘all well-pleaded facts as true,
viewing them in the light most favorable to the plaintiff.’” In re Katrina Canal Breaches Litig.,
495 F.3d 191, 205 (Sth Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dallas Area Rapid
Transit, 369 F.3d 464, 467 (5th Cir. 2004)). For a claim to survive a motion to dismiss, the
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Bell
Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the
defendant is liable for misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A

complaint must contain “more than labels and conclusions, and a formulaic recitation of the
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elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (2007). “Factual
allegations must be enough to raise a right to relief above the speculative level.” Jd.
IV. Motion to Dismiss.

Plaintiff asserts claims against Defendants, including Frigerio, for race discrimination in
violation of FHA and the Texas Fair Housing Act, violations of Texas Penal Code §§ 37.09 and
37.10, and violations under 18 U.S.C. §§ 1505 and 1506. (Docket Entry 1, at 3.) Plaintiff also
alleges that Frigerio is liable for negligent and fraudulent misrepresentation. (/d. at 8.) Frigerio
contends that “Plaintiff has failed to state a cause of action against him and he is entitled to
attorney qualified immunity, as a matter of law.” (Docket Entry 6, at 3.)

Plaintiffs complaint fails to state a valid cause of action against Frigerio. Plaintiff's
FHA and Texas FHA claims are based on allegations that the City of Selma gave preferential
treatment to Caucasian and Hispanic bidders, while discriminating against African-American
bidders. (Docket Entry 1, at 3-4.) Plaintiff claims that “African Americans were subjected to
deceptive bid instructions, unethical bias in submission practices, and unjust rejection.” (Jd. at
7.) Plaintiff does not allege, however, that Frigerio had any role in the public auction process.
Rather, Frigerio was hired to represent the City of Selma in litigation after the auction, involving
Plaintif?s HUD and TWC claim. (Docket Entry 6, at 2.) Plaintiff's complaint accordingly fails
to state an FHA and Texas FHA discrimination claim against Frigerio.

With regard to the claims brought under the Texas Penal Code and criminal provisions of
the United States Code, Plaintiff lacks standing to bring these claims. The Texas Penal Code is a
criminal statute and it does not create a private cause of action. See Aguilar v. Chastain, 923
S.W.2d 740, 745 (Tex. App.—Tyler 1996, writ denied) (“[T]he Texas Penal Code does not

create private causes of action... .”). Likewise, 18 U.S.C. §§ 1505 and 1506 are federal
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criminal statutes and they do not create a private cause of action. See Watson v. United States,
Civ. No. C-07-326, 2009 WL 2601254, at *3 (S.D. Tex. Aug. 24, 2009) (dismissing a civil claim
brought under a related criminal statute). These claims should accordingly be dismissed.

Plaintiff's allegations regarding fraudulent and negligent misrepresentation are also
insufficient to state a claim against Frigerio. A claim for fraud under Texas law requires a
plaintiff to establish: (1) that a material misrepresentation was made; (2) the representation was
false; (3) when the representation was made, the speaker knew it was false or made it recklessly
without any knowledge of the truth and as a positive assertion; (4) the speaker made the
representation with the intent that the other party rely upon it; (5) the party acted in reliance on
the representation, and (6) the party thereby suffered injury. Turner v. Pavilicek, Civ. No. H-10-
749, 2011 WL 4458757, at *11 (S.D. Tex. Sept. 22, 2011) (quoting Aquaplex, Inc. v. Rancho La
Valencia, Inc., 297 S.W.3d 768, 774 (Tex. 2009)). In addition, allegations of fraud “must state
with particularity the circumstances constituting fraud or mistake.” FED. R. Civ. P. 9(b). “Ata
minimum, Rule 9(b) requires that a plaintiff set forth the ‘who, what, when, where, and how’ of
the alleged fraud.” United States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125
F.3d 899, 903 (Sth Cir. 1997).

Plaintiff alleges that Frigerio “made false statements knowingly assisting in concealing
video evidence that . . . would be relied upon by [TWC].” (Docket Entry 1, at 8.) He also claims
that Frigerio’s “acts induce[d] the other party to reframe from issuing a determination of cause
during the [TWC] investigation.” (Docket Entry 15, at 4.) These allegations, however, fail to
satisfy the fourth, fifth, and sixth elements of a fraud claim. With regard to the fourth element,
Plaintiff does not indicate that any representations were made by Frigerio to Plaintiff; rather, he

indicates that the alleged false statements were made to the TWC. (Docket Entry 1, at 8.)
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Plaintiff also does not indicate that he relied on any statements from Frigerio to satisfy the fifth
element. Rather, Plaintiff claims that it was TWC that relied on Frigerio’s alleged false
statements in rendering its unfavorable determination regarding Plaintiff's discrimination claim.
(Docket Entry 15, at 3-4.) These allegations fail to satisfy the elements of a fraud claim as
Plaintiff “must provide evidence that he suffered injury as the result of his reliance upon a
promise or representation in order to support his fraud or misrepresentation claim.” Camp v.
Ruffin, 30 F.3d 37, 38 (5th Cir. 1994) (emphasis added). Plaintiff has not met this requirement.

Based on all the foregoing, Plaintiff's claims against Defendant Frigerio should be
dismissed.

V. Conclusion.

Based on the foregoing, I recommend that Defendant Charles S. Frigerio’s Motion to
Dismiss (Docket Entry 6) be GRANTED and that Plaintiff's claims against Defendant Frigerio
be DISMISSED.

VI. Instructions for Service and Notice of Right to Object/Appeal.

The United States District Clerk shall serve a copy of this report and recommendation on
all parties by either (1) electronic transmittal to all parties represented by attorneys registered as
a “filing user” with the clerk of court, or (2) by mailing a copy to those not registered by certified
mail, return receipt requested. Written objections to this report and recommendation must be
filed within fourteen (14) days after being served with a copy of same, unless this time period is
modified by the district court. 28 U.S.C. § 636(b)(1); FED. R. Civ. P. 72(b). The party shall file
the objections with the clerk of the court, and serve the objections on all other parties. A party
filing objections must specifically identify those findings, conclusions or recommendations to

which objections are being made and the basis for such objections; the district court need not
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consider frivolous, conclusive or general objections. A party’s failure to file written objections
to the proposed findings, conclusions and recommendations contained in this report shall bar the
party from a de novo determination by the district court. Thomas v. Arn, 474 U.S. 140, 149-52
(1985); Acuna v. Brown & Root, Inc., 200 F.3d 335, 340 (Sth Cir. 2000). Additionally, failure to
file timely written objections to the proposed findings, conclusions and recommendations
contained in this report and recommendation shall bar the aggrieved party, except upon grounds
of plain error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted by the district court. Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415,

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1428-29 (5th Cir. 1996) (en banc).

SIGNED on June 20, 2016.
